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Message

From: Voyles, Travis [(O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]
Sent: 2/20/2025 11:40:12 PM

To: Hanson, Paige (Catherine) [hanson.catherine@epa.gov]
Subject: FW: thanks for taking my call!
Travis Voyles

C: (202) 787-0595

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Thursday, February 20, 2025 6:07 PM

To: Corlett, Thomas <Corlett. Thomas@epa.gov>; Amidon, Eric <Amidon.Eric@epa.gov>; Voyles, Travis
<voyles.travis@ epa.gov>

Subject: RE: thanks for taking my call!

The first two grants are part of the Greenhouse Gas Reduction Fund, and so is the last grant to Hope
Enterprises.

From: Vaseliou, Molly

Sent: Thursday, February 20, 2025 5:41 PM

To: Corlett, Thomas <Corlett. Thomas@epa.gov>; Amidon, Eric <Amidon.Eric@epa.gov>; Voyles, Travis
<voyles.travis@epa.gov>

Subject: FW: thanks for taking my call!

From: Madeleine Rowley <mrowley@thefp.com>

Sent: Thursday, February 20, 2025 5:39 PM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Cc: Weiner, Ben <Weiner.Ben@epa.gov>; Mandy, Cora <Mandy.Cora@epa.gov>; Gall, Daniel <Gall.Daniel@epa.gov>
Subject: Re: thanks for taking my call!

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

Hi Molly,

Thanks so much for the informative call today! I look forward to working with you on a story for The
Free Press. Here are the grants I found today that I found to be particularly interesting:

1. $2.9 billion to Opportunity Finance Network under the Inflation Reduction Act to provide
federal funds to community lenders. Harold Pettigrew is the CEO. He was appointed by Biden to serve
on the Community Development Advisory Board of the US Department of the Treasury from 2021-
2024. Salary for the portion of the year for which he worked for OFN in 2023 was $250,000.

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2. $249 million to Inclusive Prosperity Capital under the Inflation Reduction Act. Kerry O'Neill is
the CEO. She was formerly the Chair on the EPA's Environmental Financial Advisory Council. Salary
is over $300,000.

3. $19 million granted to Young, Gifted, & Green under the Inflation Reduction Act to "THE
PROJECT WILL ENCOMPASS THREE CLIMATE ACTION STRATEGIES AND THREE POLLUTION
REDUCTION STRATEGIES TO UNDERTAKE COMMUNITY TRANSFORMATIONAL CHANGE IN
ENVIRONMENTAL JUSTICE ACROSS THE PROJECT AREA." CEO is LaTricia Adams, who was
appointed by Biden to the White House Environment Justice Advisory Council.

4. $10 million of various grants involving water studies to The Water Research Foundation. CEO
is Peter Grevatt, who spent 31 years at the EPA, and he makes over $420,000 annually.

5. $93.7 million to Hope Enterprise Corporation under the Greenhouse Gas Reduction Fund.
CEO Bill Bynum makes over $500,000 and was on the Biden-Harris transition team.

I'm continuing to comb through grants, but these have stood out so far. I'd love to know if
Administrator Zeldin plans to cancel any of these/ what he plans to do regarding the billions granted
via the Inflation Reduction Act. I'd also be curious to know if the EPA is aware of any "climate justice"
projects that were completed using federal funds disbursed during the Biden Administration.

We aim to run a story on Tuesday or Wednesday of next week if possible. Thank you so much!

Sincerely,
Maddie Rowley

On Thu, Feb 20, 2025 at 4:42 PM Vaseliou, Molly <Vaseliou.Molly@epa.gov> wrote:
Connecting via email. Will keep an eye out to your list and will help however possible!

Molly Vaseliou
Associate Administrator for Public Affairs
Environmental Protection Agency

Maddie Rowley

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Message

From: Voyles, Travis [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]
Sent: 2/21/2025 1:12:33 PM

To: Amidon, Eric [Amidon.Eric@epa.gov]

cc: Hanson, Paige (Catherine) [hanson.catherine@epa.gov]; Corlett, Thomas [Corlett. Thomas@epa.gov]; Vaseliou, Molly
[Vaseliou.Molly@epa.gov]

Subject: FW: OEJECR-Thriving Communities Grantmaker Program Information

Attachments: 1_TCGM Regional Application data_Final.docx; 2_Grantmaker Profiles (UPDATED 02.20.25) Final.docx; 3_Copy of
Qlik Sense -TCGM Grants - February 20 2025 - Final.xlsx; Grantmaker- Final workplans for initial awards;
Grantmakers-Final Grant Workplans for Subsequent Awards

3 of these were caught in the approved grants to cancel this week. After reviewing, this entire program is 100% IRA
funding and just serves as a smaller pass through like the GHG Reduction Fund model for the 2 programs at issue now.

I would like to recommend this entire suite of grants be cancelled—around $647M

Travis Voyles
C: (202) 787-0595

From: Park, Susan <Park.Susan@epa.gov>

Sent: Thursday, February 20, 2025 8:36 PM

To: Voyles, Travis <voyles.travis@epa.gov>

Cc: Segovia, Theresa <Segovia. Theresa@epa.gov>

Subject: OEJECR-Thriving Communities Grantmaker Program Information

Good Evening Travis,

Attached, please find requested information re: EPA’s Thriving Communities Grantmaker (GM) Program. Please note,
today, 22 EJ grants were identified for termination, which included three Grantmakers from Regions 3, 5 and 10.
Region 3 GM: Green and Healthy Homes Initiatives

Region 5 GM: Minneapolis Foundation

Region 10 GM: Philanthropy Northwest

Attachments include:
1. Data on Subaward Applications Received (as of 2/20/2025);

2. Grantmaker Profiles/Summaries on each Grantmaker;

3. Qlik Sense Excel Spreadsheet detailing - Cumulative award Amount, Liquidated Amount, Unliquidated
Amount, and % of Award liquidated as of 2/20/2025

4, Final Grant Workplans for the initial awards (start-up)

5. Final Grant Workplans for the subsequent awards (sub-grants)

Please let me know if you have any questions.

Cordially,

~SUS&a2

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Susan Park

Deputy Assistant Administrator

Office of Environmental Justice and External Civil Rights (OEJECR)
U.S. Environmental Protection Agency (EPA)

1200 Pennsylvania Ave, NW
Washington, DC 20460

www.epa.gov

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February 2025

Thriving Communities Grantmaker Program (TCGM)

Alignment with Administrator Priorities - The TCGM Program aligns with and promotes two of the
Administrator’s pillars of the Powering the Great American Comeback Initiative. The Grantmaking
program supports Pillar 1 (Clean Air, Land, and Water for Every American) by providing support
accessible to all communities seeking clean air, land, and water. The program also supports Pillar 3
(Permitting Reform, Cooperative Federalism, and Cross-Agency Partnership). Specifically, a fundamental
design of the TCGM program is cooperative administration where Grantmaking entities closely
collaborate with local partners and governments to support communities across the country. Overall,
this program cuts through much of the bureaucracy and red tape of the traditional federal grantmaking
process allowing the Grantmakers to provide support to communities more quickly to be more
responsive to their needs as they come. This efficient grantmaking process will be critical for
Grantmakers issuing subawards to communities impacted by disasters and emergencies whether they
be wildfires, floods, hurricane, or tornadoes. Overall, the TCGM program supports EPA’s mission to
advance protection of human health and the environment and fulfils the agency’s obligations under
Clean Air Act 138, by providing accessible subawards to community-based nonprofits, Tribes, and local
governments for assessment, planning, and project development activities in every EPA Region. The
program is a regionally driven subaward program with tight federal oversight, funded through
cooperative agreements with each Region and with Headquarters. National Grantmakers further

strengthen the success and reach of the program by filling gaps in regional subawards and by supporting
the capacity of Regional Grantmakers to effectively create and monitor their subaward programs.

Regional Subaward Application Data

The Program is Oversubscribed and Highly Popular!

To date, Regional Grantmakers are estimated to have received well over 1,500 applications for

subawards in their first round of funding, representing requests totalling more than $400 million at the
start of the program. Regional Grantmakers are reviewing applications and are poised to begin issuing
subawards to communities in the weeks to come. National Grantmakers will make subawards that help
to fill gaps in the Regional Grantmaker subaward programs.

Themes that are appearing across the regional competitions include:

e High application rates

e High number of applications for project development / Tier 3 — from local governments and
resource challenged nonprofits. Needed funding to get to ‘shovel-ready’ projects.

e High number of applications and nominations for $75,000 fixed amount capacity building
subawards to severely capacity-constrained communities.

e Application themes include healthy and affordable food, reducing energy costs, and workforce
development.

What we observe in every region is extremely high demand, with the need far outstripping the amount
of funds obligated for subawards. Below is a snapshot of the data by region. Note that up to date
information is not available from every region as regional offices have had varying instructions to project
officers regarding recent communication with grantees.

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Region 1 - Health Resources in Action
Round 1 application deadline was February 14", 2025
Round 2 application deadline is May 16°", 2025
Both rounds are for all project tiers.

Detailed data on applications received is forthcoming...

Region 2 — Fordham University

Round 1 applications closed December 31, 2024 - 686 total received from NY, NJ, Puerto Rico,
and USVI, representing approximately $120,000,000 in funding requested.

Approximately 18% of applications are from rural areas.

$75,000 fixed amount capacity building: 349
Tier 1 (up to $150,000): 80

Tier 2 (up to $250,000): 75

Tier 3 (up to $350,000): 182

Region 3 — Green and Healthy Homes Initiative

Detailed data on applications received is forthcoming...

Region 4 — Research Triangle Institute
(As of 1-29)

195 applications submitted

Foundational ($75,000 fixed amount capacity building): 98
Tier 1 ($150,000): 11

Tier 2 ($250,000): 29

Tier 3 ($350,000): 57

Region 5 — Minneapolis Foundation
421 total applications, representing over $100 million in subaward applications from across
Minnesota, Michigan, Illinois, Ohio, Wisconsin, and Indiana. Over 20% of the requests come
from rural communities, primarily from local governments, water utilities, and nonprofit

organizations.

Tier 1 ( up to $150,000): 83 ($10.8 million requested)

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Tier 2 (up to $250,000): 119 ($26.9 million requested)
Tier 3 (up to $350,000): 219 ($71.6 million requested)

Region 6 — Texas Southern University

Region 7 — Research Triangle Institute
(As of 1-29)

32 applications submitted, 110 applications in progress
Foundational ($75,000 fixed amount): 15

Tier 1 Assessment ($150,000): 1

Tier 2 Planning ($250,000): 4

Tier 3 Project development ($350,000): 12

Region 8 JSI

(as of 12/27)
304 applications submitted, a higher volume than anticipated.
Recruiting more evaluators for scoring.

Region 9 — Social and Environmental Entrepreneurs

Detailed data on applications received is forthcoming...

Region 10 Philanthropy Northwest
From 1° funding round for Tier 3 applications only, closed for applications 12-15-24

132 applications received

Requesting a total of $43.9 million in subawards

27 applications primarily serve Tribal or indigenous communities
45 applications serve rural communities

37 applications serve ‘some’ rural communities

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Region 10 is currently accepting applications for all Tiers in its second round, open until 2-28-2025.

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THRIVING COMMUNITIES GRANTMAKING PROGRAM (TCGM)
Grantmaker Profiles by Geographic Region

The profiles of the winning applicants selected and awarded to be pass through entities (i.e., Grantmakers)
for EPA’s Thriving Communities Grantmaking Program (TCGM) are shown below. Key information has been
pulled from the initial applications submitted in June of 2023, including brief descriptions of the
Grantmakers’ proposed goals and objectives, their location, the award amount, proposed collaborations
with the Thriving Communities Technical Assistance Centers (TCTACs}, as well as named partners and their
locations.

Grantmakers will work with local partners to administer the program and ensure that funding supports
projects that align with EPA’s mission to protect human health and the environment, including clean air,
land and water for every American. EPA will continue to work with the Grantmakers through the
cooperative agreement with each throughout the entirety of this 3-year program to ensure successful
outcomes for all communities involved.

The Grantmakers are currently making subawards available to non-profits, Native American organizations,
local governments, and institutes of higher education. The EPA has provided guidance for Grantmakers
and subaward applicants on cooperative administration requirements to ensure local communities’ needs
and priorities drive the structure and implementation of the program.

National Grantmaker Profiles (2 Grantmakers)

National Grantmakers were selected for their capabilities to bolster the efforts of the Regional
Grantmakers, providing coordination support for outreach and communications, especially in rural and
remote areas, and administering and monitoring subawards, and data gathering on community needs and
subgrants issued. Additionally, National Grantmakers will issue subawards to fill gaps in the Regional
subaward programs, especially in rural, remote and tribal communities.

| National Grantmaker East

Recipient: Institute for Sustainable Communities (ISC)
Website: https://sustain.org/program/ej-erg/

Hub Location: Montpelier, VT

Applicant Type: Nonprofit

Award Amount: $60,000,000

Title: Thriving Communities Grantmaking Program
Regional Coverage: Regions 1 — 3

Partners:

- Emerald Cities Collaborative (Washington, DC)

- Groundwork USA (Yonkers, NY)

- Urban Sustainability Directors Network (Washington, DC)
- Trust for Public Lands (San Francisco, CA)

- River Network (Boulder, CO)

Proposed Grantmaker Structure and Goals:

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Institute for Sustainable Communities, founded in 1991, is a non-profit organization with a mission to create
viable solutions through collaborative partnerships that support communities. In 2023, ISC was selected as
an EPA National Thriving Communities Technical Assistance Center (TCTAC). For the Grantmaker program,
ISC will leverage its expertise, experience, networks, and five partner organizations to provide coordination
and communications support to the regional Grantmakers. ISC developed the Eastern Regional
Grantmakers website that will host a Data Visualization Hub linked to the National Evaluation and Tracking
System with public-facing grantmaking information and data tracking and evaluation tools for regional
Grantmakers. ISC will also fill gaps in Grantmaking subaward coverage to ensure that low capacity and hard
to reach communities most impacted by environmental challenges are able to receive funding.

| National Grantmaker Central *also the Region 4 Grantmaker

Recipient: Research Triangle Institute

Website:

Hub Location: Research Triangle Park, NC

Applicant Type: Nonprofit

Award Amount: $60,000,000 as national Grantmaker (an additional $60,000,000 as the Region 4
Grantmaker; total award amount $120,000,000)

Title: Environmental Justice Thriving Communities Grantmaking Program

Regional Coverage: Regions 4 - 7

Partners:
- — International City/County Management Association (Washington, DC)

- National Center for Healthy Housing (Columbia, MD)
- Southern Environmental Law Center (Charlottesville, VA)

Proposed Grantmaker Structure and Goals:

As a National Grantmaker, Research Triangle Institute (RTI) and its team of partners will emphasize local
community outreach to accelerate grant awards to lower capacity and hard to reach communities
excessively impacted by environmental hazards. To promote engagement, RTI and its partners will use a
community-engaged collaboration model that promotes peer review and local capacity building, while
mitigating potential conflicts of interest and ensuring effective monitoring and oversight of the subaward
program.

Data on Subgrant Applications Received to Date - RT! will provide subawards to Region 7 in the absence of
a Regional Grantmaker award for EPA Region 7. RTI has received 32 applications for subawards from Region
7 applicants, with another 110 applications in progress.

Regional Grantmaker Profiles (9 Profiles)

| Region 1

Recipient: Health Resources in Action (HRiA}

Hub Location: Boston, MA

Applicant Type: Nonprofit

Award Amount: $60,000,000

Title: Grantmaking to Build Sustained Capacity and Networks Across EPA Region 1

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Location: Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island, Vermont and 10 Tribal
Nations
Partners:

- Alternatives for Community and Environment, Inc. (ACE) (Roxbury, MA)

- New England Grassroots Environment Fund, Inc. (Grassroots Fund) (Newmarket, NH)

Proposed Grantmaker Structure and Goals:

Health Resources in Action (HRiA}, the lead applicant, is joining with two core partners, ACE and Grassroots
Fund, to design and manage a comprehensive TCGM program to support community-based organizations
(CBOs), nonprofit organizations, and other entities representing urban, rural, indigenous, remote, and
capacity constrained communities in implementing projects to address local environmental and/or public
health challenges in Region 1. The Rl Grantmaker has partnered with a community-based organization in
each of the region’s six states as subawardees to provide additional extensive outreach, via boots on the
ground, and support prospective applicants within their respective states and tribal regions.

HRiA and its collaborative partners will ensure meaningful participation and community engagement
in decision-making processes by individuals and communities most impacted by excessive
environmental and public health issues. HRiA will implement a Governance Council, made up of
Community representatives, to prioritize voices from urban, rural, remote, and capacity constrained
communities most impacted by environmental and public health challenges, as well as identify and
recruit Grant Readers and a Grantmaking Committee to serve as ambassadors and review applications.
To adhere to Conflict-of-Interest policies, organizations that are interested in applying for a grant will
not serve as a reader of Grantmaking Committee member, but may serve on the Governance Council.

Region 2
Recipient: Fordham University

Hub Location: Bronx, NY
Applicant Type: Private Institution of Higher Education
Award Amount: $60,000,000
Title: Flourishing in Community: Fordham in Community Environmental Justice Grantmaker Initiative
Location: New Jersey, New York, Puerto Rico, US Virgin Islands and eight Indian Nations.
Partners:

- New York Immigration Coalition (New York, NY)

- New Jersey Alliance for Immigrant Justice (Newark, NJ)

- ConPRmetidos (San Juan, PR)

- Community Foundation Virgin Islands (St. Thomas, USVI)

- Business Initiative Corporation of New York (Bronx, NY)

Proposed Grantmaker Structure and Goals:

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The Flourishing in Community (FIC) Grantmaker Initiative, serving as the EPA Region 2 TCGM, will engage
communities impacted by pollution and other environmental impacts in NY, NJ, PR, and USVI. The program
leadership team will employ Fordham University’s infrastructure to provide grants to qualifying
organizations, local governments, institutions, and agencies, prioritizing rural, remote, coastal, and urban
communities, and other communities and groups which traditionally have not had the capacity to apply for
or receive federal funding for environmental projects. The FIC employs a governance structure that: 1)
Fosters authentic stakeholder engagement and establishes cooperative oversight; 2) Facilitates a robust
and accessible subgrant application, disbursement, monitoring, and reporting process; 3) Shares successes
from the subgrantee cohort and raises the profile of initiatives; and 4) Provides technical assistance and
wrap-around support to subgrantees. The FIC Grantmaker team will work closely with the Region 2 TCTACs,
WE ACT and the Univeridad Interamericana de Puerto Rico, to leverage technical support to prospective
applicants. To mitigate conflict of interest, no members of FIC’s Grantmaker structure and
management will be permitted to receive subgrant awards.

Data on Subgrant Applications Received to Date - The FIC Round 1 application cycle received over 680
applications, representing approximately $120 million in funding requested. Round 2 is currently open and
accepting applications.

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Region 3
Recipient: Green & Healthy Homes Initiative Inc.
Hub Location: Baltimore, MD
Applicant Type: Nonprofit
Award Amount: $60,000,000
Title: Building Capacity to Advance Environmental Justice for Thriving Communities in Region 3
Location: DE, DC, MD, PA, VA, WV, and 7 federally recognized tribes

Partners:
- Latin American Community Center (Wilmington, DE) - Howard University (Washington,
- Childrens National Research Institute (Washington, DC) DC)
- Black Millennials 4 Flint (Washington, DC) - Invest Appalachia (Ashville, NC}
- Block Power (Brooklyn, NY) -  JustFund (Oakland, CA)
- Chesapeake Bay Foundation (Annapolis, MD) - NAACP Maryland (Columbia, MD)
- Children’s National Hospital Washington, DC) - New Ecology (Boston, MA)

- | Savanah Barber (Tribal lands, VA)

- United Parents Against Lead
(Richmond, VA)

- Women for a Healthy Environment
(Pittsburgh, PA)

-  Chisolm Legacy Project (Baltimore, MD)
- Coalition for Green Capital (Washington, DC)
- Delaware State University (Dover, DE)

Proposed Grantmaker Structure and Goals:

As the Region 3 Grantmaker for the TCGM, The Green and Healthy Homes Initiative (GHHI) plans to use a
strong cooperative administration framework to build capacity in traditionally hard to reach areas. GHHI
will engage the community through a stakeholder advisory board, partnerships, and mechanisms for
providing direct feedback to adapt frequently to the needs of communities, particularly those from capacity
constrained areas. GHHI will be accepting applications for funding during their initial project period through
a dedicated web portal; allowing optional submissions for those without reliable access to internet.

Data on Subgrant Applications Received to Date - To date GHHI has received 200 applications and is poised
to begin issuing subawards. In alignment with the EPA requirements, applications will be accepted on a
rolling basis. Within 15 days of receiving an application, GHHI will determine if the applicant meets the
basic threshold criteria. Projects that meet the threshold criteria will be fully evaluated for award within
1.5 months of receipt. Following selection, financial risk analyses and award agreements will be completed
for successful applications.

Region 4 * Also the National Grantmaker Central
Recipient: Research Triangle Institute

Hub Location: Research Triangle Park, NC

Applicant Type: Nonprofit

Award Amount: $60,000,000 as Region 4 Grantmaker (an additional $60,000,000 as a national Grantmaker;
total award amount $120,000,000)

Title: Catalyzing Community-Driven Change (CCDC): TCGM Region 4

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Location: Alabama, Florida, Georgia, Kentucky, Mississippi, North Carolina, South Carolina, Tennessee and
6 Tribes

Partners:
- North Carolina Central University NCCU (R4)
- Resource for Assistance and Community Training-RTl Center for Applied Research in Environmental
Science — CARES (NC)
- Southern Environmental Law Center (SELC)
- University of Kentucky (UKY)}
- National Center for Healthy Housing NCHH (MD)

Proposed Grantmaker Structure and Goals:

RTI International and its partners—North Carolina Central University (NCCU), the Southern Environmental
Law Center (SELC), the University of Kentucky (UKY}, and the National Center for Healthy Housing (NCHH)—
have come together to form the Catalyzing Community-Driven Change—Region 4 Grantmakers team
(CCDC). The team brings expertise in grant management, environmental science, and environmental
research and evaluation. The CCDC Team positions community members as part of a community advisory
board (CAB), and as decision makers in selecting subawardees. Their targeted outreach and recruitment
strategies are available to potential applicants in various modalities (online, in person, etc), and designed
to reach communities all across Region 4.

Data on Subgrant Applications Received to Date - RTI has received 195 applications for subawards from
Region 4 applicants.

Region 5
Recipient: The Minneapolis Foundation
Hub Location: Minneapolis, MN
Applicant Type: Nonprofit
Award Amount: $60,000,000
Title: Region 5 Community Grantmaking Program (CGM)

Location: (Hub Location — Minneapolis, MN) Illinois, Indiana, Michigan, Minnesota, Ohio, Wisconsin and 35
Tribes
Partners:

- Midwest Environmental Justice Network (R5 Tribal lands (Minneapolis, MN)
- The RE-AMP Network (R5) (Madison, WI)
- NDN Collective (Rapid City, SD) (R5)

Proposed Grantmaker Structure and Goals:

The Minneapolis Foundation (TMF) will serve as the Regional Grantmaker along with 3 statutory partners
hereafter referred to as the Collaborative. The Collaborative is committed to managing and implementing
the program in a way that builds the capacity and strength of grassroots organizations that work with
capacity constrained communities. The Collaborative structure includes: a deep and broad set of

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relationships with the most impacted communities that will enable co-development of the entire process
from application through implementation and evaluation; expertise overseeing and monitoring all aspects
of program implementation, paying particular attention to compliance with EPA and federal requirements;
and knowledge and experience to construct an efficient and accessible grantmaking process that meets
federal guidelines and funds the most critical environmental and public health work in Indigenous, rural,
remote, and urban areas. The Collaborative will work with the Region 5 TCTACs to ensure communities
with excessive environmental concerns have access to capacity building resources so that they can
meaningfully engage and provide useful feedback to EPA. The Collaborative will also work with a 9-13-
member Regional Community Advisory Committee (RAC) that will provide direction and oversight, support
outreach and communications, and recommend the slate of sub-grants during each decision-making
period. RAC members will be asked to sign a contract that identifies expectations and agreement with a
Conflict-of-Interest Policy. The Collaborative has over 100 working relationships with Tribes and
Indigenous-led, rural, remote, and urban grassroots organizations across the region, and a track record for
making grants to Tribes and CBOs across the six-state region and a knowledge of what works best for
capacity constrained organizations in terms of their ability to deliver projects.

Data on Subgrant Applications Received to Date - To date, the Collaborative has received 421 applications
for subawards, representing over $100 million in requests, 20% from rural areas.

Region 6
Recipient: Texas Southern University
Hub Location: Houston, TX
Applicant Type: Public/State Controlled Institution of Higher Education
Award Amount: $60,000,000
Title: Texas Southern University Bullard Center Thriving Communities Grant

Location: Arkansas, Louisiana, New Mexico, Oklahoma, Texas and with 66 tribal nations

Partners:
- — Achieving Community Tasks Successfully (Houston, TX)
- | HBCU-CBO Gulf Coast Equity Consortium (New Orleans, LA)
- HBCU Climate Change Consortium (New Orleans, LA)
- National Black Environmental Justice Network (New Orleans, LA)

Proposed Grantmaker Structure and Goals:

The Bullard Center at Texas Southern University (TSU)—in partnership with Achieving Community Tasks
Successfully (ACTS), a community-based nonprofit organization—will serve as a Regional Grantmaker
(RGM) for the purpose of working with CBOs that are addressing environmental and public health issues in
low capacity and hard to reach communities. The Bullard Center RGM program builds on decades of
experience, expertise and trust earned the past three decades in operating centers, consortia, and
collaboratives engaged in administering grants to CBOs. The Bullard Center will reach intended
organizations and work with local partners to administer the program; providing a level of technical
assistance and mentorship that few other organizations would be able to provide, maximizing the impact
of subrecipients’ work. The Bullard Center, in collaboration with the New Mexico State University TCTAC

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and Deep South Center for Environmental Justice TCTAC for New Mexico will provide technical assistance
coverage and tribal support. To ensure community-oriented planning and collaboration for the RGM
program, the Bullard Center and ACTS will develop a new Advisory Committee (consisting of subject matter
experts (SMEs), academic leaders, and leaders of accomplished CBOs}, that will provide essential guidance
and oversight for the grantmaking program’s design and operation. The RGM will provide funds for research
incidental to the project design, sampling, testing, monitoring, investigations, surveys and studies, public
education, and other activities deemed by the Advisory Committee and/or evaluation committee. The
Advisory Committee will also establish guidelines and criteria to mitigate conflict of interest (COI), creating
the list of potential reviewers where reviewers will sign a document indicating that they understand the
COI plan and that they are qualified under the COI to review applications. Project evaluation will be
managed by The Bullard Center, focused on capacity built among CBOs, the perception of changes achieved
by subrecipients, particularly in capacity constrained and hard to reach remote communities, and successes
and lessons learned.

Region 8
Recipient: JS] Research and Training Institute, Inc
Hub Location: Denver, CO 80202
Applicant Type: Nonprofit
Award Amount: $60,000,000
Title: Mountains and Plains Grants Hub (“MAP Grants Hub}
Location: (Hub Location — Denver, CO) Colorado, Montana, North Dakota, South Dakota, Utah, Wyoming
and 28 Tribal Nations
Partners:

- Montana Watershed Coordination Council (Helena, MT)

- Oglala Lakota Cultural & Economic Revitalization Initiative (Pine Ridge Indian Reservation, SD)
- Dakota Resource Council (Bismarck, ND)

- Wyoming Outdoor Council (Lander, WY)

- Community Health Association of Mountains/Plains States (CHAMPS) (Denver, CO

- Equitable funding Advisory/Training Partner: Community-Centric Fundraising (Seattle, WA)

Proposed Grantmaker Structure and Goals:

JSI Research and Training Institute, Inc (JSI), together with their partners, will serve as a Regional
Grantmaker. The aim is to achieve measurable environmental, public health, and quality of life
improvements in the most overburdened, vulnerable and capacity constrained communities by co-
designing a grantmaking application and collaborative scoring process, engaging in robust and responsive
outreach to communities across Region 8, implementing subgrant management that reduces the burden
on subgrantees, and engaging in monitoring, evaluation, and reporting that ensures the integrity,
compliance, and impact of the program. The MAP Hub team will work with the National TCGM entity to
help to avoid real or perceived conflict of interest. This RGM program activities include establishing the
MAP Grants Hub, outreach/in-reach and pre-application support, as well as grants management support
and evaluation. The MAP Hub will establish workflows with the TCTAC and National TCGM.

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Data on Subgrant Applications Received to Date - As of December 27", JSI had received 304 applications
for subawards, a higher volume than anticipated for the first round of funding.

Region 9
Recipient: Social and Environmental Entrepreneurs (SEE), Inc
Hub Location: Calabasas, CA
Applicant Type: Nonprofit
Award Amount: $60,000,000
Title: EPA Thriving Communities Subgrant: Grantmakers for EPA Region 9
Location: Arizona, California, Hawaii, Nevada, Pacific Islands, 148 Tribes

Partners:

- Community Foundation for Southern Arizona (CFSA) (Tuscon, AZ)
- — International Community Foundation (ICF) (National City, CA)

- — Liberty Hill Foundation (Liberty Hill} (Los Angeles, CA)

- Native Americans in Philanthropy (NAP) (Washington, DC)

- Resources Legacy Fund (RLF) (Sacramento, CA)

- Climate Justice Alliance (Berkeley, CA)

Proposed Grantmaker Structure and Goals:

Social and Environmental Entrepreneurs (SEE) and five grantmaking partners will serve as the Regional
Grantmaker (RGM) for Region 9 to collaboratively design a subgrant program, leveraging each partner’s
existing grantmaking expertise and connections in the local communities of Region 9. With efficiency
prioritized at the “top of the funnel” combined with grassroots connections and grantmaking processes
and procedures, SEE’s proposed grantmaking structure consists of: adaptive application process (online
form, phone, previous proposals or video); extensive and intensive in-person outreach in rural and remote
areas, prioritizing those where financial resources are needed to meet urgent needs; geographically and
community-centered outreach plans involving local, trusted individuals; and a streamlined award process
to fund projects in communities that are extremely overburdened with pollution, or experience high levels
of environmental or health risks and cooperative oversight.

Led by SEE and a cohort of five grantmaking partners, the RGM for the Thriving Communities Subgrant will
design competitive application in-take and evaluation processes centered on efficiently and effectively
addressing urgent environmental and public health issues across the region. All grantmaking partners will
engage in mapping out the landscape of stakeholders and consult with trusted community leaders,
including faith leaders, tribal leaders, community-based organizations, local government officials,
academics, and others to understand community dynamics, local environmental issues, and the most
pressing needs. The RGM will establish criteria and procedures for the Community Advisory Panel to
mitigate conflict of interest including disclosure of relationships to potential applicants and recusal
mechanisms to prevent actual or apparent conflicts of interest. Grantmaker partners will rely on leaders to

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point toward the projects with the ripest opportunity for impact and the community-based organization
doing the most critical work.

Region 10
Recipient: Philanthropy Northwest
Hub Location: Seattle, WA
Applicant Type: Nonprofit
Award Amount: $60,000,000
Title: Northwest Network for Environmental Justice

Location: Alaska, Idaho, Oregon, Washington, and 271 Tribal Nations

Partners:

- Alaska Conservation Foundation (Anchorage, - Northwest Health Foundation (Portland,
AK)Denali Commission (Anchorage, AK) OR)

- | Rasmuson Foundation (Anchorage, AK) - |natai Foundation (Seattle, WA)

- Blue Cross of Idaho Foundation for Health - Russell Family Foundation Gig Harbor,
(Boise ID) WA)

- Nonprofit Association of Oregon (Portland, - Affiliated Tribes of Northwest Indians
OR) (Portland, OR)

-  JustFund Us (Oakland, CA) - Native Americans in Philanthropy

(Washington, DC)

Proposed Grantmaker Structure and Goals:

Together with partners that hold deep community relationships across Alaska, Idaho, Oregon, Washington,
and 271 Native tribes, Philanthropy Northwest’s (PNW) goal is to ensure rural organizations and other lower
capacity and hard to reach communities have access to EPA’s Thriving Communities resources to improve
environmental and community health and wellbeing. Woven throughout PNW’s cooperative structure is a
deliberate and intentional process to center community members in decision-making. The collective work
will result in increased support to communities working on community-identified environmental and public
health issues. PNW also brings a strong track record of increasing awareness of local community needs and
solutions to Grantmakers who are positioned to provide support to all EPA grant applicants. During the
project initiation period, PNW will establish procedures and finalize a conflict-of-interest policy. PNW’s plan
for EPA’s Thriving Communities Grantmaking Program centers cooperative oversight and leverages the
knowledge and relationships of its partners; and addresses environmental and public health issues for
communities. This framework puts decision-making into the hands of communities and adds legitimacy,
public accountability, and a sense of agency and control over the process and decisions affecting
communities.

Data on Subgrant Applications Received to Date - PNW received 132 applications for subawards in its first
round of funding, representing $43.9 million in funding requests, many from rural and Tribal communities.

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Message

\From: Energy Law360 [news-
alt@law360.com]
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To: — Voyles, Travis Caution: This email originated from outside EPA, please exercise
[voyles.travis@epa.gov]) additional caution when deciding whether to open attachments or click on
Subject:Greenpeace Owes provided links.

More Than $660M In
Dakota Pipeline Case

Energy

THURSDAY, MARCH 20, 2025

TOP NEWS

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Greenpeace Owes More Than $660M In Dakota Pipeline Case
By Cara Salvatore

Greenpeace said Wednesday that a jury ordered it to pay more than $660
million in a suit alleging the group falsely disparaged the Dakota Access
Pipeline project amid environmental protests, a case the organization has
called a threat to its future and an attack on free speech.

Read full article » | Save to favorites »

Judge Won't Unfreeze Climate Grantees’ EPA Funds
By Juan-Carlos Rodriguez

A Washington, D.C., federal judge said the U.S. Environmental Protection
Agency hasn't provided an adequate explanation for its termination of $20
billion in grant funding for climate change projects and blocked it from taking
further action — but declined to order that the money be released.

2 documents attached | Read full article » | Save to favorites »

Analysis

FCPA Uncertainty May Lead Attys To 'Gamble’ On Disclosure
By Phillip Bantz

The Trump administration's pullback on Foreign Corrupt Practices Act
enforcement is sowing confusion in the white collar bar, as companies
consider whether to voluntarily disclose potential violations of the anti-bribery
law while the chances of getting a favorable resolution seem good or keep
quiet until the dust settles.

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COMPANIES IN TODAY'S
NEWS

AST & Science LLC

Adobe Inc.

Alon USA Energy Inc.

American Arbitration Association
American Association for Justice
American Bar Association
American Express Co.

Ann Inc.

Aquarion Water Co. Inc.
Associated Energy Group LLC
BDO USA LLP

Brooklyn Law School

CITGO Petroleum Corp.

CRA International Inc.

Chevron Corp.

Citigroup Inc.

Cognizant Technology Solutions
Corp.

Consumer Attorneys Association of
Los Angeles

Consumer Attorneys of California
Copyright Alliance

Cummins Inc.

EisnerAmper LLP

Energy Transfer LP

Everyday Health Group

Exxon Mobil Corp.

Financial Industry Regulatory
Authority Inc.

Google LLC

Gordon Brothers Group LLC
Great American Insurance Co.
Greenpeace Inc.

HP Inc.

Honeywell International Inc.
Illinois Trial Lawyers Association

International Centre for Dispute
Resolution

JOANN Inc.

Keurig Dr Pepper Inc.

Leidos Holdings Inc.

LexisNexis Legal & Professional
Liberty Mutual Insurance Group
Ligado Networks LLC

LinkedIn Corp.

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4 Firms Steer Apollo's Buy Of Majority Stake In Energy Biz
By Jade Martinez-Pogue

Private equity giant Apollo on Wednesday announced that it has agreed to
take a majority stake in offshore energy solutions business OEG Energy
Group, in a $1 billion deal that was built by four law firms.

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EDITORIAL BOARDS

Law360 Announces The Members Of Its 2025 Editorial Boards

Law360 is pleased to announce the formation of its 2025 Editorial Advisory
Boards.

Read full article » | Save to favorites »
Ex-Cognizant CLO Fires Paul Weiss After Trump Order
By Carla Baranauckas

A former Cognizant Technology Solutions Corp. executive facing a bribery
trial next month has fired Paul Weiss Rifkind Wharton & Garrison LLP from his

defense team following the Trump administration's revocation of the firm's
security clearances, according to a withdrawal motion filed Wednesday by
firm partner Roberto Finzi.

Motion attached | Read full article » | Save to favorites »

OIL AND GAS

Robbins Geller Escapes Sanctions In Gas Price-Fixing Suit
By Adrian Cruz

A California federal judge on Wednesday rejected a bid to sanction Robbins
Geller Rudman & Dowd LLP attorneys in a gas price-fixing suit, determining
that the firm didn't act in bad faith or unreasonably multiply proceedings in a
way that unnecessarily cost Alon USA Energy millions.

Order attached | Read full article » | Save to favorites »

Bondholders Say $2B Venezuelan Bond Contracts Are Valid
By Joyce Hanson

The holders of approximately $2 billion in defaulted bonds issued by
Venezuela's state-owned oil company Petrdédleos de Venezuela SA have urged
a New York federal court to enforce their contracts with PDVSA, saying the
country hasn't shown how its domestic law makes the bonds invalid.

Brief attached | Read full article » | Save to favorites »

Fed. Circ. Says Lacking License Dooms DOD Fuel Deal Protest
By Daniel Wilson

The Federal Circuit refused Wednesday to revive a case challenging a $134
million sole-source fuel supply contract for the U.S. military in Djibouti, saying
the challenger wasn't eligible for the deal even if the Defense Logistics
Agency had opened it up to competition.

Opinion attached | Read full article » | Save to favorites »

Brief
Carrier Penalized For Historic Fuel Spill In Connecticut

By Aaron Keller

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London Court of International
Arbitration

MUFG Union Bank NA
Medtronic PLC

Meta Platforms Inc.
NASDAQ Inc.

National Association of Criminal
Defense Lawyers

Natural Resources Defense
Council

New York City Bar Association
Oaktree Capital Management
PG&E Corp.

Pershing Square Capital
Management LP

Pinterest Inc.

RELX PLC

SVB Financial Group

Save A Lot Inc.

State Bar of California
StoneTurn Group LLP

Stretto Inc.

Telefonaktiebolaget LM Ericsson
Tesla Inc.

The Boeing Co.

The Pew Charitable Trusts

U.S. Chamber of Commerce
Uber Technologies Inc.
University of California Davis
University of Miami

Verizon Communications Inc.
Vertical Screen Inc.

Volunteers of Legal Service
Western Alliance Bancorporation
Ziff Davis Holdings Inc.

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NEWS

4 5 Gray's Inn Square
A&O Shearman

Abir Cohen

Adler & Stachenfeld
Akerman LLP

Akin Gump

Anderson Kill

Andrus Anderson
Archer & Greiner
ArentFox Schiff LLP

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Soundview Transportation LLC will pay $350,000 in penalties to the state of
Connecticut plus millions in private remediation costs for a tank truck accident
that caused what the Connecticut attorney general's office says is the largest
gasoline spill in state history.

2 documents attached | Read full article » | Save to favorites »

UTILITIES AND POWER

Broadband Pole Upgrades Depend On States, Pew Says
By Nadia Dreid

States need to make sure their pole attachment process is running smoothly,
or it could be the cause for a lot of broadband deployment holdups, according
to a new study released by Pew Charitable Trusts.

Read full article » | Save to favorites »

RENEWABLES

Plastic Recycler Gets OK For Ch. 11 Financing
By Rick Archer

A Delaware bankruptcy judge on Wednesday gave an Indiana plastic
recycling plant permission to make an initial draw on $13 million in Chapter 11
financing as it heads toward a May sale of its assets.

Read full article » | Save to favorites »

NUCLEAR

Ex-Worker Says Honeywell Must Face Retooled 401(k) Suit
By Carla Baranauckas

A former Honeywell International Inc. worker urged a New Jersey federal
judge to reject the aerospace and manufacturing company's bid to toss his
amended proposed class claims targeting how the company used forfeited
401(k) funds, arguing that he plausibly pled his allegations.

Brief attached | Read full article » | Save to favorites »

PEOPLE

Norton Rose Continues Energy Growth With 4 Houston Attys
By Andrea Keckley

Norton Rose Fulbright announced the additions of four energy attorneys from
Texas boutique Alvarez Stauffer Bremer PLLC on Wednesday, bringing
complex commercial litigation and catastrophic incident response experience
as the firm continues to build on its momentum in the energy market.

Read full article » | Save to favorites »

EXPERT ANALYSIS

Constitutional Foundations Of Gov't-Guaranteed Investments
For attorneys advising clients with exposure to government-backed
investments, understanding the constitutional guardrails on presidential
impoundment offers essential guidance for risk assessment, contract strategy
and litigation planning, says Mauni Jalali at Quinn Emanuel.

Read full article » | Save to favorites »

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Arnall Golden
Arnold & Porter
Axinn Veltrop

Baker & Hostetler
Baker Botts

Baker McKenzie
Barnes & Thornburg
Barnhouse Keegan
Berger Singerman
Bernstein Litowitz
Blank Rome

Block & Leviton
Bohrer PLLC

Boies Schiller
Bracewell LLP
Bradley Arant

Brann & Isaacson
BraunHagey & Borden
Bressler Amery
Brown Neri
Brownstein Hyatt
Bush Seyferth
Cadwalader Wickersham
Carlton Fields
Cassidy Levy
Chaffetz Lindsey
Chamberlain Hrdlicka
Clark Smith Villazor
Clyde & Co

Cohen & Buckmann
Cohen & Gresser
Cohen Milstein
Continental PLLC
Cooley LLP
Covington & Burling
Cozen O'Connor
Cravath Swaine
Crowell & Moring
DLA Piper

Davis Polk

Davis Wright Tremaine
Dechert LLP
Dentons

DiCello Levitt
Duane Morris
Dykema

Engstrom Lee

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3 Del. Bankruptcy Cases Highlight US Trustee Objections

As three recent Delaware bankruptcy cases show, debtors who seek approval
of a stalking horse bid protections agreement should be prepared for the U.S.
Trustee Office's objections, including if the proposed classification for the bid
protections is a superpriority administrative expense claim, says Kyle
Arendsen at Squire Patton.

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Series
Adapting To Private Practice: From SEC To BigLaw

As | adjusted to the multifaceted workflow of a BigLaw firm after leaving the
U.S. Securities and Exchange Commission, working side by side with new
colleagues on complex matters proved the fastest way to build a deep rapport
and demonstrate my value, says Jennifer Lee at Jenner & Block.

Read full article » | Save to favorites »

LEGAL INDUSTRY

White House Says It Will Obey Court Orders But Faults Judges
By Courtney Bublé

White House Press Secretary Karoline Leavitt said on Wednesday the Trump
administration will comply with court orders, but continued to escalate its
verbal attacks on the judiciary.

Read full article » | Save to favorites »

Judge Tells DOJ To Alert All Agencies Of Perkins Coie Ruling
By Lauren Berg

A Washington, D.C., federal judge Wednesday directed the Trump
administration to tell all federal agencies to rescind requests for disclosures
about government and contractor relationships with Perkins Coie LLP,
following an order last week blocking enforcement of the president's executive
order against the Seattle-based law firm.

Read full article » | Save to favorites »

Plaintiffs Attys Fight Arbitration, While Imposing It On Clients
By Brandon Lowrey

Plaintiffs attorney groups have for decades lobbied against forced arbitration,
saying it strips injured consumers and aggrieved workers of their right to jury
trial and hides corporate misconduct from public view. But many plaintiffs
lawyers nationwide have subjected their own clients to forced arbitration in
their retainer contracts — including leaders of some organizations that forbid
the practice, Law360 has found.

Read full article » | Save to favorites »

Analysis

DC Circ.’s Copyright Denial Of Al Art Is A Sign Of Future Fights
By Ivan Moreno

A computer scientist's quest to register artwork made by his artificial
intelligence system hit another roadblock this week when the D.C. Circuit
concluded that only human authors qualify for copyright protection, but his
case foreshadows complex questions that courts and perhaps Congress will
have to grapple with as the technology evolves.

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Eversheds Sutherland
Faegre Drinker
Farrell & Fuller
Fenwick & West
Foley & Lardner
Foley Hoag
Freshfields

Fried Frank
Friedman Kaplan
Garland Samuel & Loeb
Genova Burns
Gibbons PC
Gibson Dunn
Goldman Ismail
Goldstein & Russell
Goodwin Procter
Grant & Eisenhofer
Greenbaum Rowe
Greenberg Traurig
Greene Broillet
HWG LLP

Halloran & Sage
Hangley Aronchick
Hartley LLP
Hecker Fink
Herrick Feinstein
Hinshaw & Culbertson
Hobbs Straus
Hogan Lovells
Holland & Knight
Holwell Shuster
Hughes Hubbard
Hunton Andrews
Hurwitz Sagarin
Husch Blackwell
Jackson Lewis PC
Jeffer Mangels
Jenner & Block
Jones Day

K&L Gates

KXT Law

Katten Muchin
Keller Postman
Kelley Drye
Kennedys Law LLP
Kilpatrick Townsend
King & Spalding

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Ohio Judge Blasts Fla. Atty In Opioid MDL For False
Statements

By Carolina Bolado

The Ohio federal judge overseeing multidistrict opioid litigation has sanctioned
a Florida attorney who represents 15 municipal subdivision plaintiffs for
repeatedly stating that members of their attorney leadership team regularly
engaged in improper communications with the court.

Order attached | Read full article » | Save to favorites »

Goldstein Says Feds 'Misled' Court With Obstruction Claim
By Phillip Bantz

U.S. Supreme Court lawyer and SCOTUSblog publisher Tom Goldstein wants
a Maryland federal judge to sanction prosecutors in his tax evasion case for a
“pattern of false and misleading statements" to the court accusing him of
hiding millions in cryptocurrency and bribing his former law firm manager.

2 documents attached | Read full article » | Save to favorites »

‘Weird’ Mass Arb. Fights Have Judge Questioning FAA's Reach
By Craig Clough

A California federal judge who held Verizon's arbitration agreements to be
unconscionable told a law forum panel Wednesday in San Diego that the rise
of mass arbitration cases and companies’ increasingly "creative" efforts to
avoid arbitration has him finding the process "weird" and asking, "What's
wrong with the courts?""

Read full article » | Save to favorites »

Leader Of Brothel That Catered To Attys, Execs Gets 4 Years
By Julie Manganis

The head of a network of brothels that operated out of luxury apartments in
the Boston and Washington, D.C., areas and counted lawyers, political figures
and executives among its clientele was sentenced to four years in prison on
Wednesday.

Read full article » | Save to favorites »

Bradley Expands Houston Office With Bankruptcy, Corporate
Trio

By Corey Rothauser

Bradley Arant Boult Cummings LLP said Wednesday that it has expanded its
bankruptcy and corporate team in Houston with the addition of three attorneys
from Chamberlain Hrdlicka White Williams & Aughtry, including the former
chair of the firm's bankruptcy, restructuring and creditor rights practice.

Read full article » | Save to favorites »

Alex Jones’ Sandy Hook Atty Wants Suspension Halved
By Brian Steele

A Connecticut attorney suspended for two weeks over his role in the
mishandling of Sandy Hook families’ confidential records has asked a state
court judge to credit him for a weeklong suspension he served more than two
years ago and to pause the order while he appeals.

2 documents attached | Read full article » | Save to favorites »

Calif. Panel Probes Disbarring Eastman Over 2020 Election
By Rachel Scharf

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Kirkland & Ellis
Klehr Harrison

Klein Thomas
Koning Rubarts
Kreindler & Kreindler
Labaton Keller
Latham & Watkins
Lauro & Singer

Law Offices of Jeremy D.
Weinstein

Lieff Cabraser

Littler Mendelson
Lowenstein Sandler
Lucosky Brookman
Mac Murray & Shuster
Manatt Phelps

Mark Migdal & Hayden
Mayer Brown
McCarter & English
McDermott Will & Emery
McGuireWoods
McKool Smith

Merson Law

Milbank LLP

Miller & Chevalier
Miller Law Associates APC
Miller Nash LLP

Mintz Levin

Morgan & Morgan
Morgan Lewis

Morris Nichols
Morrison Foerster
Motley Rice

Munger Tolles

Muskat Devine

Nelson Mullins
Nguyen Lawyers ALC
Nicolaides Fink

Nixon Peabody
Norton Rose
O'Melveny & Myers
Orrick Herrington
Outten & Golden
Pachulski Stang
Parker Hudson

Parker Poe

Paul Hastings

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An appeals panel appeared unlikely Wednesday to reverse a California State Paul Weiss
Bar judge's finding that John Eastman, a former attorney for President Donald —_ Peiffer Wolf
Trump, engaged in misconduct when he tried to overturn the results of the

2020 election, but questioned whether disbarment is the appropriate Pemins Cale

punishment. Phelps Dunbar
Read full article » | Save to favorites » Phillips Lytle
Del. House Panel Sends Corporate Law Rework To Final Vote Pillsbury Winthrop
By Jef Monigome Pitt McGehee
¥ 9 y . . Polsinelli PC
A Delaware House committee on Wednesday sent toward a possible final
Potter Anderson

House vote corporation law amendments that would create new "safe harbor" ,
protections for officers, directors and controlling stockholders, shielding them Quinn Emanuel
from liability if they have conflicting interests in some corporate acts. Redgrave LLP

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Richard & Bartlett
Richards Layton
Riley Safer
Rivkin Radler
Robbins Geller
Robbins LLP
Robins Kaplan
Robinson Bradshaw
Robinson Stewart Montgomery
Ropes & Gray
Sanford Heisler
Santos Lloyd Law Firm
Schlichter Bogard
Schulte Roth
Scott&Scott
Seck Law
Seeger Weiss
Segal Roitman
Seward & Kissel
Seyfarth Shaw
Shackelford Bowen
Sheppard Mullin
Shook Hardy
Sidley Austin
Simmons Hanly
Simpson Thacher & Bartlett LLP
Singleton Schreiber
Skadden Arps
Spangenberg Shibley
Squire Patton
Stapleton Segal
State Tax Law LLC
Steptoe LLP
Stradley Ronon
Sullivan & Cromwell

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Summit Law Group
Taft Stettinius
Thompson Coburn
Thompson Hine
TorHoerman Law
Tressler LLP

Tripp Scott
Troutman

Tycko & Zavareei
Van Kampen Law
Varnum LLP
Vinson & Elkins
Weil Gotshal
Werman Salas
White & Case
White and Williams
Wiley Rein
Williams & Connolly
Willkie Farr
WilmerHale
Wilshire Law Firm
Wilson Elser
Wilson Sonsini
Winston & Strawn
Wolf Popper
Womble Bond
Yankwitt LLP
Yetter Coleman

GOVERNMENT
AGENCIES IN TODAY'S
NEWS

City and County of San Francisco,
California

City of New York

Connecticut Attorney General's
Office

Defense Logistics Agency

Equal Employment Opportunity
Commission

European Union

Federal Communications
Commission

Federal Trade Commission
Internal Revenue Service

Massachusetts Gaming
Commission

Morongo Band of Mission Indians

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New Jersey Office of the Public
Defender

New York County District
Attorney's Office

Standing Rock Sioux Tribe

U.S. Attorney's Office for the
District of Maryland

U.S. Attorney's Office for the
District of New Jersey

U.S. Bankruptcy Court for the
District of Delaware

U.S. Copyright Office

U.S. Court of Appeals for the
Federal Circuit

U.S. Court of Appeals for the Ninth
Circuit

U.S. Department of Energy

U.S. Department of Justice

U.S. Department of State

U.S. District & Bankruptcy Courts
of Southern District of Texas

U.S. District Court for the District of
Columbia

U.S. District Court for the District of
Maryland

U.S. District Court for the District of
Massachusetts

U.S. District Court for the District of
New Jersey

U.S. District Court for the Northern
District of California

U.S. District Court for the Southern
District of California

U.S. District Court for the Southern
District of New York

U.S. Environmental Protection
Agency

U.S. Securities and Exchange
Commission

U.S. Supreme Court

US Office of Management and
Budget

United States District Court for the
District of North Dakota

United States District Court for the
Northern District of Ohio

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Message

\From: Public Policy Law360
[news-
alt@law360.com]

Sent: 3/20/2025 10:38:15 oo
AM Caution: This email originated from outside EPA, please exercise

To: — Voyles, Travis additional caution when deciding whether to open attachments or click on
[voyles.travis@epa.gov]) provided links.

Subject:All GOP FTC Tamps
Down Dissent, Ratchets
Up Legal Fights

Public Policy

THURSDAY, MARCH 20, 2025

EPA_00299950
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TOP NEWS

Feature
All GOP FTC Tamps Down Dissent, Ratchets Up Legal Fights

By Bryan Koenig

Dissenting voices may become an endangered prospect at the Federal Trade Commission after President Donald Trump
fired the agency's two Democrats on Tuesday, with no sign of plans to name new members.

Read full article » | Save to favorites »
Analysis

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Abortion Case May Be Just The Start For Empowered Paxton
By Catherine Marfin

Texas Attorney General Ken Paxton's announcement of the first criminal charges under the state's abortion ban comes
amid a political shift in which lawmakers are increasingly willing to empower the state's top legal office, potentially setting
up a court battle over how much clout the AG should wield.

Read full article » | Save to favorites »

Judge Tells DOJ To Alert All Agencies Of Perkins Coie Ruling

By Lauren Berg

A Washington, D.C., federal judge Wednesday directed the Trump administration to tell all federal agencies to rescind

requests for disclosures about government and contractor relationships with Perkins Coie LLP, following an order last
week blocking enforcement of the president's executive order against the Seattle-based law firm.

Read full article » | Save to favorites »

DC Judge Won't Preemptively Stop IRS Data Sharing With DHS
By Ali Sullivan

A D.C. federal judge on Wednesday said two immigrant rights groups had not shown that the IRS is poised to unlawfully
share noncitizen taxpayer records with immigration enforcement authorities, rejecting their bid for a court order that would
preemptively block any information transfer.

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Judge Won't Unfreeze Climate Grantees’ EPA Funds

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By Juan-Carlos Rodriguez

A Washington, D.C., federal judge said the U.S. Environmental Protection Agency hasn't provided an adequate
explanation for its termination of $20 billion in grant funding for climate change projects and blocked it from taking further
action — but declined to order that the money be released.

documents attached | Read full article » | Save to favorites »

EU Accuses Google Of Breaking New Big Tech Rules
By Matthew Perlman

European enforcers accused Google on Wednesday of violating the bloc's new rules for digital markets by favoring its
own services in search results and through restrictions in its Play Store, while also outlining steps Apple needs to take to
comply.

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White House Says It Will Obey Court Orders But Faults Judges

By Courtney Bublé

White House Press Secretary Karoline Leavitt said on Wednesday the Trump administration will comply with court orders,
but continued to escalate its verbal attacks on the judiciary.

Read full article » | Save to favorites »
Mich. Judges Fret Over Danger Of Proposed Disclosure Rules
By Danielle Ferguson

Michigan Supreme Court justices on Wednesday heard feedback on proposed changes to judicial canons to broaden
judges' financial disclosure requirements and expressed concern over the need to balance transparency and
accountability with the safety of judges and their families amid a rise in threats against the judiciary.

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5 documents attached | Read full article » | Save to favorites »
Mich. Senate Asks High Court To Fast-Track Stalled Bill Case

By Carolyn Muyskens

The Michigan Senate has appealed directly to the Great Lakes State's highest court, saying the court's swift intervention
is needed to resolve a "constitutional confrontation" that arose when the House refused to send passed legislation to the
governor.

documents attached | Read full article » | Save to favorites »

EDITORIAL BOARDS

Law360 Announces The Members Of Its 2025 Editorial Boards
Law360 is pleased to announce the formation of its 2025 Editorial Advisory Boards.
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ELECTION FIGHTS

Ga. Beats Another Challenge To 2021 Voting Law
By Chart Riggall

A Georgia federal judge ended one of a host of challenges to the state's controversial 2021 election law overhaul, ruling
that the prospect of local election officials being removed by their statewide counterparts was "too remote" a possibility to
establish standing.

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Ga. Justices Consider Election Board's Rulemaking Authority
By Kelcey Caulder

Georgia's Supreme Court justices on Wednesday considered whether a trial court judge correctly blocked the
enforcement of controversial State Election Board rules put in place before last year's general election, weighing
arguments about whether the rulemaking aligned with the constitution's separation of powers.

Read full article » | Save to favorites »
Calif. Panel Probes Disbarring Eastman Over 2020 Election
By Rachel Scharf

An appeals panel appeared unlikely Wednesday to reverse a California State Bar judge's finding that John Eastman, a
former attorney for President Donald Trump, engaged in misconduct when he tried to overturn the results of the 2020
election, but questioned whether disbarment is the appropriate punishment.

Read full article » | Save to favorites »
BANKING & SECURITIES

Del. House Panel Sends Corporate Law Rework To Final Vote
By Jeff Montgomery

A Delaware House committee on Wednesday sent toward a possible final House vote corporation law amendments that
would create new "safe harbor" protections for officers, directors and controlling stockholders, shielding them from liability
if they have conflicting interests in some corporate acts.

Read full article » | Save to favorites »
‘They're Walking Away': Ripple Labs Says SEC To Drop Appeal
By Aislinn Keely

Ripple Labs CEO Brad Garlinghouse said Wednesday the U.S. Securities and Exchange Commission will drop its Second
Circuit appeal of a summary judgment in its headline-grabbing enforcement action over Ripple's XRP token.

Read full article » | Save to favorites »
Lenders Rally For CDFI Fund After Trump Orders Cuts
By Jon Hill

A broad coalition of lender trade groups is lobbying in support of a key federal program aimed at boosting Main Street
investment, defending it to lawmakers after President Donald Trump ordered the program slashed as much as possible.

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Letter attached | Read full article » | Save to favorites »

ENERGY & ENVIRONMENTAL

Monsanto Lawyers Face Reduced Penalties Over PCB Reports
By Rachel Riley

A Washington state judge has partially reconsidered a decision to personally sanction eight attorneys representing
Monsanto for late disclosure of expert reports ahead of a Seattle PCB tort trial, downgrading some of the penalties while
still concluding the defense team deliberately violated a court scheduling order at the company's behest.

Order attached | Read full article » | Save to favorites »

Wash. Water Quality Regs Survive Industry Challenge
By Juan-Carlos Rodriguez

A federal judge on Wednesday upheld Washington state water quality standards that were challenged by business groups
after they were approved by the U.S. Environmental Protection Agency.

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MEDIA & ENTERTAINMENT

Trade Group Sues La. Over Social Media Age Restrictions
By Nadia Dreid

Tech trade group NetChoice is going after a new Louisiana law that would restrict minors' access to social media and ban
companies from showing them targeted ads, saying the law blocks children's access to protected speech and is a "fiasco
for free speech and online safety."

Read full article » | Save to favorites »
TRANSPORTATION & INFRASTRUCTURE

NY DOT Says Feds' Bid To Kill Congestion Pricing Is 'Unlawful'
By Linda Chiem

The New York State Department of Transportation told a Manhattan federal judge Wednesday that the Trump
administration's efforts to kill New York City's congestion pricing program unlawfully interfere with the Empire State's
authority to implement state law and protect New Yorkers' health and welfare.

Memorandum attached | Read full article » | Save to favorites »

REAL ESTATE

10th Circ. Says 'Corner-Crossing'’ Hunters Didn't Trespass
By Thy Vo

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A Tenth Circuit panel has ruled that Wyoming hunters who used an A-frame ladder to cross over private property to
access public lands didn't trespass, finding an 1885 American frontier law protects the public's right to "corner-cross" and

access public lands that are otherwise enclosed by private property.

(Opinion attached | Read full article » | Save to favorites »

Fla. Court Affirms Boardwalk Easement, Despite Defunct Law

By Grace Dixon

Florida's First District Court of Appeal confirmed Wednesday that Walton County, Florida, had a right to a public
easement on a beach, finding it need not have exercised that right before the federal government repealed the law under

which the land was conveyed to private owners.

(Opinion attached | Read full article » | Save to favorites »

LA City Office Claims Group Ran Illegal STR Scheme

By Isaac Monterose
A group advertised and rented out illegal short-term and long-term rentals in Los Angeles and also illegally jacked up rent
prices after the January wildfires occurred in LA, the LA City Attorney's Office alleged in a state court suit.

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Complaint attached | Read full article » | Save to favorites »

EMPLOYMENT & BENEFITS

Judge Questions Standing In DEI Executive Orders Challenge
By Jared Foretek

A D.C. federal judge on Wednesday questioned whether three civil rights nonprofits have standing to block the Trump
administration's executive orders ending federal diversity, equity, inclusion and accessibility programs and cutting off
funding for groups focused on minority populations.

Read full article » | Save to favorites »
EEOC, DOJ Advise Workers To Look Out For DEI-Based Bias
By Patrick Hoff

The U.S. Equal Employment Opportunity Commission paired with the U.S. Department of Justice on Wednesday to issue
guidance explaining how workers can recognize and report bias tied to diversity, equity and inclusion programs, part of
the Trump administration's broader effort targeting the practices across public and private workplaces.

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Conn. Justices Say ALJs Can Clearly Award Disability Benefits
By Ryan Harroff

Reversing a lower court, the Connecticut Supreme Court has ruled that state law plainly empowers administrative law
judges to award ongoing temporary disability benefits in workers' compensation cases, such as one brought by a hospital
worker whose wrist was damaged restraining a patient.

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MLM Cosmetics Co. Doesn't Pay Any Wages, Stylist Says
By Emmy Freedman

A multilevel marketing company illegally classifies stylists as independent contractors, thus forcing them to foot the bill for
promoting the company's products, and only pays workers a commission and for recruiting more stylists, a lawsuit filed in
California state court said.

Complaint attached | Read full article » | Save to favorites »

COMPETITION

How They Won It
How Cleary, Simpson Thacher Went To The Mattresses With FTC

By Bryan Koenig

The Federal Trade Commission's attempt to block Tempur Sealy's $5 billion bid to acquire retailer Mattress Firm suffered
a likely fatal blow when a Texas federal court refused to put the merger on hold.

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Fired FTC Dem Warns Of Billionaire Influence On Trump
By Thy Vo

A Democrat who was terminated by President Donald Trump from the Federal Trade Commission said Wednesday that
the public should be concerned about "which billionaire has the president's ear" when the next "mega-merger" is
proposed, in remarks to a Colorado legislative committee the day after his firing.

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DOJ Says Anthropic View Of Google Search Fix Is Now Moot
By Jared Foretek

The U.S. Department of Justice is urging a D.C. federal judge to dismiss Anthropic's bid to submit witness declarations in
the remedies phase of the government's search antitrust case against Google, arguing that it already dropped the
proposed remedy that drew Anthropic's input in the first place.

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DOJ Defends Rejection Of Agri Stats Bid For Data Points

By Matthew Perlman

The U.S. Department of Justice is defending a decision in Minnesota federal court denying a bid from Agri Stats Inc. to
make enforcers identify specific data fields in company reports that allegedly allow chicken, pork and turkey producers to
share competitively sensitive information.

Response attached | Read full article » | Save to favorites »

CYBERSECURITY & PRIVACY

3rd Circ. Passes On Appeal Of NJ Judicial Privacy Law Ruling
By Ryan Boysen

Data brokers cannot consolidate dozens of lawsuits in federal court that claim they violated the New Jersey data privacy
statute known as Daniel's Law, after the Third Circuit declined to revisit an earlier ruling that sent the lawsuits back to
state court.

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PERSONAL INJURY & MEDICAL MALPRACTICE

Connecticut Jury Awards $5.7M To Murder Exoneree
By Aaron Keller

A Connecticut federal jury on Wednesday handed an exonerated murder defendant $5.7 million, finding a town police
officer negligent for failing to stop evidence fabrication by a state police interrogator.

Read full article » | Save to favorites »
TAX

Switzerland, Zimbabwe Sign Tax Treaty
By Kevin Pinner

Switzerland and Zimbabwe signed an agreement Wednesday for a treaty to avoid double taxation of income, an
expansion of the Swiss treaty network in southern Africa that has been welcomed by cantons and businesses, according
to Switzerland's competent authority.

1 document attached | Read full article » | Save to favorites »

IMMIGRATION

NY Judge Transfers Columbia Activist's Case To NJ
By Madeline Lyskawa

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A Manhattan federal judge on Wednesday transferred Palestinian activist and Columbia University graduate student
Mahmoud Khalil's petition seeking his release after he was arrested by Immigration and Customs Enforcement to New
Jersey.

Order attached | Read full article » | Save to favorites »
Judge Extends Feds’ Deadline For Deportation Flight Info
By Britain Eakin

U.S. District Judge James Boasberg on Wednesday gave the Trump administration another day to provide more details
about flights containing Venezuelans deported under the 1798 Alien Enemies Act, after the government said it might
invoke state secrets privilege.

documents attached | Read full article » | Save to favorites »

NATIVE AMERICAN

8th Circuit Rejects Minn. Tribe's Jurisdiction Rehearing Bid
By Crystal Owens

The Eighth Circuit on Wednesday denied a Minnesota tribe's request for a panel or en banc rehearing on a decision to
remand and vacate its challenge over law enforcement jurisdiction on its reservation after it told the court last month that
its assessment of the case conflicts with precedent.

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Judge Carves Up Arkansas Cherokee Casino License Dispute
By Crystal Owens

Cherokee Nation businesses can proceed with three of their claims against Arkansas in a dispute over the revocation of a
casino license, a federal court judge said, while allowing the state to nix allegations that the tribal entities were deprived of
equal protection and substantive due process.

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California Rancheria Can Comment On Casino Land Dispute

By Joyce Hanson

A D.C. federal judge has let the Redding Rancheria file a friend of the court brief in two tribes' challenge to the U.S.
government's decision to take 221 acres into trust for the rancheria's casino project, ruling it has a special interest in the
litigation.

Read full article » | Save to favorites »

Brief
Interior Department Transfers 680 Acres To North Dakota Tribe

By Crystal Owens

The Spirit Lake Nation and the U.S. Department of the Interior are hailing the recently completed transfer of 680 acres
back to the North Dakota tribe — land taken by the federal government in a mid-19th-century territory treaty — as a
change that will benefit the tribe and that the tribe has pursued for decades.

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TELECOMMUNICATIONS

Broadband Pole Upgrades Depend On States, Pew Says
By Nadia Dreid

States need to make sure their pole attachment process is running smoothly, or it could be the cause for a lot of
broadband deployment holdups, according to a new study released by Pew Charitable Trusts.

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Broadcasters Say Next-Gen TV Could Back Up GPS
By Christopher Cole

Broadcasters told federal regulators the impending transition to next-generation TV could come with an added benefit —
the creation of a broadcast spectrum-based backup to the Global Positioning System.

Letter attached | Read full article » | Save to favorites »

Brief
Republican FCC Aide Named NTIA's Acting Head

By Christopher Cole

The White House has named Adam Cassady, formerly a top Republican aide at the Federal Communications
Commission, as acting chief of the U.S. Department of Commerce branch in charge of federal spectrum policy.

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CANNABIS

Pot Co. Can't Upend Borough's Support For Rival Shop
By Mike Curley

A New Jersey appeals panel won't let a would-be Keyport cannabis dispensary prevent the borough from granting support
for a cannabis license to one of its rivals, saying the trial court was right to find that the process was not arbitrary or
capricious.

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Opinion attached | Read full article » | Save to favorites »

Court Tosses Challenge To Indiana's Delta-8 THC Policy
By Sam Reisman

An Indiana federal judge has dismissed a challenge brought by hemp industry stakeholders against Indiana's policy to
rein in hemp-derived delta-8 THC, saying the case was a matter for a state court.

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EXPERT ANALYSIS

What's Old And New In The CFTC's Self-Reporting Advisory

Attorneys at Blank Rome analyze the U.S. Commodity Futures Trading Commission's recent advisory that aims to provide
clarity on self-reporting violations of the Commodity Exchange Act, and review whether market participants should shift
their thinking — or not — when it comes to cooperation with the CFTC.

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Investor Essentials For Buying Federally Owned Property

Investors and developers can take advantage of the Trump administration's plan to sell government-owned real estate by
becoming familiar with the process and eligible to bid, and should prepare to move quickly once the U.S. General
Services Administration posts the list of properties for sale, say attorneys at Holland & Knight.

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How 2025 Is Shaping The Future Of Bank Mergers So Far

Whether the long-anticipated great wave of consolidation in the U.S. banking industry will finally arrive in 2025 remains to
be seen, but the conditions for bank mergers are more favorable now than they have been in years, say attorneys at
Skadden.

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Opinion
Upholding Tribal Sovereignty Benefits US And Indian Country

The Trump administration's broad moves to end diversity, equity and inclusion programs are negatively affecting many
tribal programs, but supporting tribal sovereignty would serve the federal government's deregulatory goals and ensure
that tribes have the resources they need, says Ellen Grover at BB&K.

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Constitutional Foundations Of Gov't-Guaranteed Investments

For attorneys advising clients with exposure to government-backed investments, understanding the constitutional
guardrails on presidential impoundment offers essential guidance for risk assessment, contract strategy and litigation
planning, says Mauni Jalali at Quinn Emanuel.

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Series

Adapting To Private Practice: From SEC To BigLaw

As | adjusted to the multifaceted workflow of a BigLaw firm after leaving the U.S. Securities and Exchange Commission,

working side by side with new colleagues on complex matters proved the fastest way to build a deep rapport and
demonstrate my value, says Jennifer Lee at Jenner & Block.

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LEGAL INDUSTRY

Ex-Cognizant CLO Fires Paul Weiss After Trump Order
By Carla Baranauckas

A former Cognizant Technology Solutions Corp. executive facing a bribery trial next month has fired Paul Weiss Rifkind
Wharton & Garrison LLP from his defense team following the Trump administration's revocation of the firm's security
clearances, according to a withdrawal motion filed Wednesday by firm partner Roberto Finzi.

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Plaintiffs Attys Fight Arbitration, While Imposing It On Clients
By Brandon Lowrey

Plaintiffs attorney groups have for decades lobbied against forced arbitration, saying it strips injured consumers and
aggrieved workers of their right to jury trial and hides corporate misconduct from public view. But many plaintiffs lawyers
nationwide have subjected their own clients to forced arbitration in their retainer contracts — including leaders of some
organizations that forbid the practice, Law360 has found.

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Analysis
DC Circ.'s Copyright Denial Of Al Art Is A Sign Of Future Fights

By Ivan Moreno

A computer scientist's quest to register artwork made by his artificial intelligence system hit another roadblock this week
when the D.C. Circuit concluded that only human authors qualify for copyright protection, but his case foreshadows
complex questions that courts and perhaps Congress will have to grapple with as the technology evolves.

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Ohio Judge Blasts Fla. Atty In Opioid MDL For False Statements
By Carolina Bolado

The Ohio federal judge overseeing multidistrict opioid litigation has sanctioned a Florida attorney who represents 15
municipal subdivision plaintiffs for repeatedly stating that members of their attorney leadership team regularly engaged in
improper communications with the court.

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Goldstein Says Feds 'Misled' Court With Obstruction Claim
By Phillip Bantz

U.S. Supreme Court lawyer and SCOTUSblog publisher Tom Goldstein wants a Maryland federal judge to sanction
prosecutors in his tax evasion case for a "pattern of false and misleading statements" to the court accusing him of hiding
millions in cryptocurrency and bribing his former law firm manager.

documents attached | Read full article » | Save to favorites »
‘Weird’ Mass Arb. Fights Have Judge Questioning FAA's Reach
By Craig Clough

A California federal judge who held Verizon's arbitration agreements to be unconscionable told a law forum panel
Wednesday in San Diego that the rise of mass arbitration cases and companies' increasingly "creative" efforts to avoid
arbitration has him finding the process "weird" and asking, "What's wrong with the courts?"

Read full article » | Save to favorites »

Robbins Geller Escapes Sanctions In Gas Price-Fixing Suit
By Adrian Cruz

A California federal judge on Wednesday rejected a bid to sanction Robbins Geller Rudman & Dowd LLP attorneys ina
gas price-fixing suit, determining that the firm didn't act in bad faith or unreasonably multiply proceedings in a way that
unnecessarily cost Alon USA Energy millions.

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Leader Of Brothel That Catered To Attys, Execs Gets 4 Years
By Julie Manganis

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The head of a network of brothels that operated out of luxury apartments in the Boston and Washington, D.C., areas and
counted lawyers, political figures and executives among its clientele was sentenced to four years in prison on
Wednesday.

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Bradley Expands Houston Office With Bankruptcy, Corporate Trio
By Corey Rothauser

Bradley Arant Boult Cummings LLP said Wednesday that it has expanded its bankruptcy and corporate team in Houston
with the addition of three attorneys from Chamberlain Hrdlicka White Williams & Aughtry, including the former chair of the
firm's bankruptcy, restructuring and creditor rights practice.

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Alex Jones’ Sandy Hook Atty Wants Suspension Halved
By Brian Steele

A Connecticut attorney suspended for two weeks over his role in the mishandling of Sandy Hook families' confidential
records has asked a state court judge to credit him for a weeklong suspension he served more than two years ago and to
pause the order while he appeals.

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Sheppard Mullin
Shinder Cantor
Shook Hardy
Sidley Austin

Sills Cummis
Simmons Hanly
Simpson Thacher & Bartlett LLP
Singleton Schreiber
Sive Paget
Skadden Arps
Spangenberg Shibley
Spiro Harrison
Stapleton Segal
Starr Gern

State Tax Law LLC
Steptoe LLP
Stinson LLP

Stoel Rives
Stradley Ronon
Sullivan & Cromwell
Summit Law Group
Taft Stettinius
Thompson Coburn
Thompson Hine
TorHoerman Law
Tressler LLP

Tripp Scott
Troutman

Tycko & Zavareei
Van Kampen Law
Varnum LLP
Vedder Price
Weaver Johnston
Weil Gotshal
Werman Salas
White & Case
White and Williams
Wiley Rein

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Williams & Connolly
Willkie Farr
WilmerHale
Wilshire Law Firm
Wilson Elser
Wilson Sonsini
Winston & Strawn
Wolf Popper
Yankwitt LLP
Yetter Coleman
Ziontz Chestnut
ZwillGen

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Date Filed 04/21/25

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ae

COMPANIES IN TODAY'S NEWS
AIDS Foundation of Chicago
Adobe Inc.

Agri Stats Inc.

Aironb Inc.

Albertsons Cos. Inc.

Alon USA Energy Inc.

Alphabet Inc.

Amazon.com Inc.

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American Arbitration Association
American Association for Justice
American Bankers Association
American Bar Association

American Civil Liberties Union
American Express Co.

Anthropic PBC

Apple Inc.

Association of Washington Business
BDO USA LLP

Bayer AG

Blackbaud Inc.

Brooklyn Law School

CRA International Inc.

Cargill Inc.

Center for Constitutional Rights
Cherokee Nation Entertainment LLC
Chevron Corp.

Cisco Systems Inc.

Citigroup Inc.

Cognizant Technology Solutions Corp.
Conference of State Bank Supervisors
Consumer Attorneys Association of Los Angeles
Consumer Attorneys of California
Copyright Alliance

Democracy Forward Foundation
Detroit Historical Society

ESPN Inc.

EisnerAmper LLP

Everyday Health Group

Exxon Mobil Corp.

Farm Credit System

Google LLC

Great American Insurance Co.
Illinois Trial Lawyers Association
Instagram Inc.

Jane Street Group LLC

KBW, Inc.

Keurig Dr Pepper Inc.

Lambda Legal Defense & Educational Fund
Leidos Holdings Inc.

LexisNexis Legal & Professional
Liberty Mutual Insurance Group
LinkedIn Corp.

Makah Tribe

Medtronic PLC

Meta Platforms Inc.

Metropolitan Transportation Authority
Monsanto Co.

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Morgan Stanley

Mortgage Bankers Association

NAACP Legal Defense & Educational Fund Inc.
NASDAQ Inc.

National Association for the Advancement of Colored People
National Association of Broadcasters
National Association of Criminal Defense Lawyers
National Fair Housing Alliance

National Urban League

Natural Resources Defense Council

New York City Bar Association

New York Civil Liberties Union

New York University

PG&E Corp.

Parabellum Capital LLC

Paypal Holdings Inc.

Pershing Square Capital Management LP
Pinterest Inc.

Public Citizen Inc.

RELX PLC

Ripple Labs Inc.

S&P Global Inc.

SVB Financial Group

Salesforce.com Inc.

Sanderson Farms Inc.

Save A Lot Inc.

Sierra Club

Spotify Technology SA

State Bar of California

StoneTurn Group LLP

Stretto Inc.

Telefonaktiebolaget LM Ericsson

Tempur Sealy International Inc.

Tesla Inc.

The Boeing Co.

The Kroger Co.

The Lawyers' Committee for Civil Rights Under Law
The Pew Charitable Trusts

Twitter Inc.

Tyson Foods Inc.

U.S. Chamber of Commerce

Uber Technologies Inc.

United Federation of Teachers

University of California Davis

University of Miami

Verizon Communications Inc.

Vertical Screen Inc.

Volunteers of Legal Service

WesBanco Inc.

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Western Alliance Bancorporation
Yelp Inc.

YouTube Inc.

Ziff Davis Holdings Inc.

GOVERNMENT AGENCIES IN TODAY'S NEWS
Bureau of Indian Affairs

City and County of San Francisco, California
City of New York

Commodity Futures Trading Commission
Community Development Financial Institutions Fund
Congressional Research Service

Consumer Financial Protection Bureau
Equal Employment Opportunity Commission
European Commission

Executive Office of the President

Federal Communications Commission
Federal Deposit Insurance Corp.

Federal Election Commission

Federal Highway Administration

Federal Housing Finance Agency

Federal Reserve System

Federal Trade Commission

Federal Transit Administration

Fish and Wildlife Service

Florida Court of Appeal, First District
Georgia Supreme Court

Indiana Attorney General's Office

Internal Revenue Service

Los Angeles Superior Court

Louisiana Legislature

Lower Elwha Klallam Tribe

Massachusetts Gaming Commission
Michigan Supreme Court

Mille Lacs Band of Ojibwe

Morongo Band of Mission Indians

National Economic Council

National Labor Relations Board

National Telecommunications and Information Administration
New Jersey Court

New Jersey Office of the Public Defender
New York Attorney General's Office

New York County District Attorney's Office
New York State Department of Transportation
Office of the Comptroller of the Currency
Office of the Los Angeles City Attorney
Paskenta Band of Nomlaki Indians

Port Gamble S'Klallam Tribe

Puyallup Tribe of Indians

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Quinault Indian Nation

Redding Rancheria

Spirit Lake Tribe

Texas State Senate

Texas Supreme Court

U.S. Attorney's Office for the District of Maryland

U.S. Attorney's Office for the District of Minnesota

U.S. Attorney's Office for the District of New Jersey
U.S. Attorney's Office for the Southern District of New York
U.S. Copyright Office

U.S. Court of Appeals for the Eighth Circuit

U.S. Court of Appeals for the Ninth Circuit

U.S. Court of Appeals for the Second Circuit

U.S. Court of Appeals for the Tenth Circuit

U.S. Court of Appeals for the Third Circuit

U.S. Department of Agriculture

U.S. Department of Commerce

U.S. Department of Health and Human Services

U.S. Department of Homeland Security

U.S. Department of Housing and Urban Development
U.S. Department of Justice

U.S. Department of Transportation

U.S. Department of the Interior

U.S. Department of the Treasury

U.S. District & Bankruptcy Courts of Southern District of Texas
U.S. District Court for the District of Columbia

U.S. District Court for the District of Connecticut

U.S. District Court for the District of Maryland

U.S. District Court for the District of Massachusetts
U.S. District Court for the District of Minnesota

U.S. District Court for the District of New Jersey

U.S. District Court for the Eastern District of Arkansas
U.S. District Court for the Middle District of Louisiana
U.S. District Court for the Northern District of California
U.S. District Court for the Northern District of Georgia
U.S. District Court for the Southern District of California
U.S. District Court for the Southern District of New York
U.S. District Court for the Western District of Louisiana
U.S. Environmental Protection Agency

U.S. General Services Administration

U.S. Immigration and Customs Enforcement

U.S. Securities and Exchange Commission

U.S. Senate

U.S. Supreme Court

US Office of Management and Budget

United States District Court for the Northern District of Ohio
United States District Court for the Southern District of Indiana
Washington Attorney General's Office

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Message

Sent: 3/24/2025 5:17:26 PM

To: Talmage, Sarah [Talmage.Sarah@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]
cc: Molina, Michael [molina.michael@epa.gov]

Subject: RE: Grant terminations 3/10

I think there are 2 different pieces of information here that we’ll need OMS to track.

1 — Public Announcements of Grant Cancellations (w/ internal freeze/hold on OMS/OCFO affiliated account)
2 —OMS Implementation to Actually Cancel Grant (some lag here because of large number to process and now litigation
impacts resulting in TROs/holds)

Michael—Can you make sure OMS is tracking the two elements: (1) when we tell them to initiate a cancellation

Travis Voyles
C: (202) 787-0595

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Monday, March 24, 2025 12:16 PM

To: Voyles, Travis <voyles.travis@epa.gov>; Amidon, Eric <Amidon.Eric@epa.gov>
Subject: FW: Grant terminations 3/10

Is the below list the “4 rounds”. | spoke with Molly and Dan Coogan and neither were too sure.
FYI — LZ is meeting with Sen. Murkowski tomorrow morning at 9:15 AM (this just got scheduled).
February 13 — 1 grant

March 3 —~15 grants

March 10 — ~450 grants
March 11 - 8 grants

PWwNER

From: Mencher, Daniel (Appropriations) <Daniel_ Mencher@appro.senate.gov>
Sent: Monday, March 24, 2025 10:46 AM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>

Cc: Newton, Anna (Appropriations) <Anna_Newton@appro.senate.gov>
Subject: RE: Grant terminations 3/10

Caution: This email originated from outside EPA, please exercise additional caution when deciding whether to open
attachments or click on provided links.

Ok, thanks. But to confirm these are from the fourth grant cancellation announcement? What about the grants from
the previous three cancellations? We’ve been asking about those for 6+ weeks.

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Monday, March 24, 2025 9:33 AM

To: Mencher, Daniel (Appropriations) <Daniel_ Mencher@appro.senate.gov>
Cc: Newton, Anna (Appropriations) <Anna_Newton@appro.senate.gov>
Subject: RE: Grant terminations 3/10

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Hi Daniel —

| should have clarified. It will take some time to process the full 400. As such, we will send you updates on a rolling basis.
Will send you updates ASAP.

Sarah Talmage

Associate Administrator

Office of Congressional and Intergovernmental Relations
U.S. Environmental Protection Agency

From: Mencher, Daniel (Appropriations) <Daniel_ Mencher@appro.senate.gov>
Sent: Thursday, March 20, 2025 2:12 PM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>

Cc: Newton, Anna (Appropriations) <Anna_Newton@appro.senate.gov>
Subject: RE: Grant terminations 3/10

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open attachments or click on provided links.

Also meant to include this article and how this list jives with the list you sent.

E&E article

From: Mencher, Daniel (Appropriations)

Sent: Thursday, March 20, 2025 11:30 AM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>

Cc: Newton, Anna (Appropriations) <Anna_Newton@appro.senate.gov>
Subject: RE: Grant terminations 3/10

Sarah — Thanks for the sending this and apologies for the delayed reply. Can you help me better understand what these
reflect? EPA has announced four rounds of grant cancellations. The latest was 400 grants totaling $1.7B per the press
release. The amounts on this list only total $6.5M. Just trying to close the gap between what’s in the press releases and
what is below. Thank you. Daniel

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Tuesday, March 18, 2025 7:25 AM

To: Mencher, Daniel (Appropriations) <Daniel_ Mencher@appro.senate.gov>
Subject: Grant terminations 3/10

Hi Daniel -

Below is a list grant terminations. Will make sure to update you on a rolling basis.

Cumulative Project Title Application Name Applicant | Assistance Listing
Award State Description
Amount

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$877,458 Advancing tree equity and Spokane Conservation WA Environmental
environmental justice in Spokane District Justice Government-
County through urban forestry to-Government
career development and (EJG2G) Program
educational programs.
$500,000 Collaborating for Tree Equity in The Nature Conservancy VA Environmental
Providence Justice Collaborative
Problem-Solving
Cooperative
Agreement Program
$500,000 Reducing Childhood Asthma by National Housing Trust DC Environmental
Improving Indoor Air Quality in Justice Collaborative
Affordable Mulifamily Housing Problem-Solving
Cooperative
Agreement Program
$490,912 Monitoring Air Toxics and Clean Air Council DE Environmental
Assessing Benefits of Reduced Air Justice Collaborative
Pollution from the Delaware City Problem-Solving
Refinery. Cooperative
Agreement Program
$40,000 Girl Scouts Healthy Living Girls Scouts of Black WV Surveys, Studies,
Champions Diamond Council, Inc. Investigations,
Training and Special
Purpose Activities
Relating to
Environmental
Justice
$1,000,000 Enhancing, Strengthening and City of Philadelphia PA Environmental
Scaling Action on Environmental Justice Government-
Justice in Philadelphia to-Government
(EJG2G) Program
$460,459 Climate Resilience Cohort County of Albemarle VA Environmental
Justice Government-
to-Government
(EJG2G) Program
$1,000,000 Community Engagement Pilot WV Dept of Environmental WV Environmental
Project in Environmental Justice Protection Justice Government-
Communities Overburdened with to-Government
PFS Contamination in Drinking (EJG2G) Program
Water
$1,000,000 Environmental justice The Environment Maryland | MD Environmental
collaboration to improve air quality | Departmetn of Justice Government-
and community resiliency for both to-Government
human health and environmental (EJG2G) Program
well-being in South Baltimore and
Maryland's Eastern Shore.
$200,000 State Environmental Justice South Carolina Department | SC Environmental

Cooperative Agreement Program

of Environmental Services

Justice Government-
to-Government
(EJG2G) Program

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$199,983

EJCPS/ARP - Climate Resiliency in
Yurok and Karuk Ancestral
Territories

Date Filed 04/21/25

Yurok Tribe

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CA

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Environmental
Justice Collaborative
Problem-Solving
Cooperative
Agreement Program

$200,000

Healthy Communities

Metro Community
Ministries

GA

Environmental
Justice Collaborative
Problem-Solving
Cooperative
Agreement Program

Sarah Talmage

Associate Administrator
Office of Congressional and Intergovernmental Relations
U.S. Environmental Protection Agency

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Message

\From: Environmental Law360

[news-

alt@law360.com]

Sent: 3/13/2025 7:35:46 AM

To: Voyles, Travis
[voyles.travis@epa.gov]

Subject:EPA Puts 'Holy Grail Of
Climate Change
Religion’ In Crosshairs

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Environmental

THURSDAY, MARCH 13, 2025

What does job satisfaction mean to you?

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TOP NEWS

EPA Puts ‘Holy Grail Of Climate Change Religion’ In Crosshairs
By Juan-Carlos Rodriguez

The U.S. Environmental Protection Agency on Wednesday said it is
reconsidering its 2009 finding that some greenhouse gases endanger
humans’ health and welfare — putting the fate of rules that sprang from that

Calif. Asks Justices To Ax Fuel Groups’ Clean Air Waiver Suit
By Lauren Berg

California asked the U.S. Supreme Court on Wednesday to uphold the D.C.
Circuit's ruling that biofuel and fossil fuel industry players don't have standing
to challenge the U.S. Environmental Protection Agency's Clean Air Act waiver
allowing the Golden State to set standards limiting greenhouse gas emissions
for vehicles.

Brief attached | Read full article » | Save to favorites »

Justices Face Renewed Calls To Nix Mass. Wind Farm Permits

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By Keith Goldberg

Fishing industry groups have asked the U.S. Supreme Court to undo federal
approvals of the Vineyard Wind project off the Massachusetts coast, less than
two months after the justices declined to consider another legal challenge by

Cancer Cause Or Red Herring? Jury Weighs Plant Bellwether
By Thy Vo

A medical sterilization company told a Colorado jury Wednesday that four
women can't get millions in damages based on the “possibility” that emissions
from a sterilization plant caused their cancer, at the close of a six-week trial in
which the plaintiffs argued the company should be punished for its
negligence.

Read full article » | Save to favorites »

POLICY & REGULATION

HUD Rejects NC City's DEl-Incorporating Disaster Relief Plan
By Charlie Innis

The U.S. Department of Housing and Urban Development said it rejected a
draft plan submitted by Asheville, North Carolina, outlining how the city would
distribute $225 million in federal relief funds for hurricane recovery due to the
plan's incorporation of "DEI criteria."

Read full article » | Save to favorites »

Arizona Lawmakers Reintroduce $5B Tribal Water Rights Act
By Crystal Owens

A bipartisan group of Arizona federal lawmakers reintroduced a bill to finalize
a $5.1 billion water rights settlement for three Indigenous tribes in the
Colorado River Basin that, if approved, will resolve one of the Grand Canyon
State's longest-running water disputes.

Bill attached | Read full article » | Save to favorites »

Insurance Pros Urge Calif. Lawmakers To Address Fire Risks
By Eli Flesch

Insurance experts in a committee hearing that largely summed up concerns
following the Los Angeles fires urged California lawmakers on Wednesday to
address rising physical risks, smoke damage complaints, and regulations
meant to expand coverage access.

Read full article » | Save to favorites »

ENFORCEMENT

Texas Urges Court Not To Let DuPont Out Of PFAS Lawsuit
By Jonathan Capriel

Chemical companies DuPont and Corteva are leaning on a "fraudulent
transfer scheme" in order to exit a lawsuit accusing them of making and
selling forever chemicals despite knowing about their toxic nature, the state of
Texas said Tuesday, urging a federal court not to give them the out.

E Brief attached | Read full article » | Save to favorites »

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LAW FIRMS IN TODAY'S

NEWS

Alston & Bird
Arnold & Porter
Aylstock Witkin
Boyden Gray
BrownGreer PLC
Buzbee Law Firm
Chehardy Sherman
Clark Love & Hutson
Cleary Gottlieb
Covington & Burling
Dechert LLP
Duane Morris
Edelson PC
Gibson Dunn
Gupta Wessler
Jenner & Block
Jolley Law Group
K&L Gates

Kelley Drye

King & Spalding
Kirkland & Ellis
Lanier Law Firm

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LITIGATION

Alaska Tribal Groups’ Bid To Update Fish Harvesting Rule Fails
By Crystal Owens

A federal judge has said the National Marine Fisheries Service didn't violate
the law by relying on 2004 and 2007 environmental impact statements to
determine specifications for a final groundfish harvest rule for the Bering Sea
and Aleutian Islands, rejecting two Alaskan tribal organizations’ bid to vacate
the rule.

Order attached | Read full article » | Save to favorites »

Ga. City Faces $35M Suit Over Recycling Plant Flip-Flop
By Kelcey Caulder

An Atlanta-based concrete recycling business has sued the city of Stonecrest,
Georgia, its mayor and city council members in federal court Tuesday for $35
million, alleging political flip-flopping by officials is costing it and a landowner
approximately $640,000 per month while its facility sits idle.

Complaint attached | Read full article » | Save to favorites »
Second Bid For Roundup Mass Tort Launched In New Jersey
By George Woolston

A second application for lawsuits against Monsanto Co. and Bayer AG
alleging injuries by exposure to the company's weed killer Roundup to be
designated as multicounty litigation has been filed with the New Jersey

EPA Says Grant Termination Moots Climate Group's Challenge
By Madeline Lyskawa

The U.S. Environmental Protection Agency told a D.C. federal judge
Wednesday that its cancelation of $20 billion in grant funding for climate
change projects renders moot Climate United Fund's claim that Citibank is
illegally denying its disbursement requests.

=/5 documents attached | Read full article » | Save to favorites »

PEOPLE

Duane Morris Adds Meyers Nave Enviro Litigation Duo In LA
By James Mills

Duane Morris LLP is expanding its environmental team, bringing in a pair of
Meyers Nave environmental litigators at its Los Angeles office.

Read full article » | Save to favorites »

EXPERT ANALYSIS

6th Circ. Ruling Paves Path Out Of Loper Bright "Twilight Zone’

The U.S. Supreme Court’s Loper Bright ruling created a twilight zone between
express statutory delegations that trigger agency deference and implicit ones
that do not, but the Sixth Circuit’s recent ruling in Moctezuma-Reyes v.
Garland crafted a two-part test for resolving cases within this gray area, say
attorneys at Wiley.

Read full article » | Save to favorites »

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Mahaffey Pickens

Marzulla Law

Mayer Brown

McFarland Litigation Partners
Meyers Nave

Moore Hill & Westmoreland
Motley Rice

Napoli Shkolnik

Perkins Coie

Robbins Alloy

Seeger Weiss

Shook Hardy

Sohagi Law Group

Sullivan & Cromwell

Taft Stettinius

Vitale Vickrey

Weitz & Luxenberg

Wiley Rein

Williams & Connolly

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3M Co.

AcumenADR LLC

Alaris Health

Alliance Defending Freedom
American Bar Association
American Civil Liberties Union

American Fuel & Petrochemical
Manufacturers

American International Group Inc.
American Petroleum Institute Inc.

American Property Casualty
Insurance Association

Amicus

Association of Village Council
Presidents

Bar Association of the District of
Columbia

Bayer AG

CDI Corporation

Chevron Corp.

China Unicom (Hong Kong) Ltd.
Citigroup Inc.

Consumer Watchdog

Corteva Inc.

Democracy Forward Foundation
DuPont de Nemours Inc.

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LEGAL INDUSTRY

Analysis

As Perkins Coie Fights Order, How Will Other Firms Respond?
By Cara Bayles

Perkins Coie LLP, represented by Williams & Connolly LLP, is challenging
President Donald Trump's executive order revoking its security clearance and
launching investigations into its diversity efforts. But other firms have
remained silent, raising questions about the order's potential effects on how
firms handle public policy litigation, publicly support their right to defend all
clients and pursue hiring initiatives.

Read full article » | Save to favorites »
Judge Blocks Order Limiting Perkins Coie Government Access

By Jared Foretek

AD.C. federal judge on Wednesday halted enforcement of the Trump
administration's executive order against law firm Perkins Coie LLP that cited
issues including its representation of Hillary Clinton during her 2016
presidential run, calling the order "viewpoint discrimination, plain and simple."

Read full article » | Save to favorites »
3M's $6B Deal In Earplug MDL Cut Federal Caseload 14%
By Emily Field

A single settlement produced a 14% decrease in the number of pending
cases in federal district courts over fiscal 2024, and that was 3M's $6 billion
deal to end multidistrict litigation over its combat earplugs, according to a
Tuesday report by the Administrative Office of the U.S. Courts.

Read full article » | Save to favorites »
First-Time Bar Passage Rate Improved In 2024
By Tracey Read

Nearly 83% of first-time test takers who sat for the bar exam in 2024 passed,
an increase of nearly 3 percentage points from 2023, according to statistics
released on Wednesday by the American Bar Association.

Read full article » | Save to favorites »

Tony Buzbee Accused Of Duping Another Seaman
By Catherine Marfin

Texas personal injury attorney Tony Buzbee and his firm have been hit with
another lawsuit from a seaman who alleges that the firm misappropriated
payments he received after a 2020 ship injury.

Complaint attached | Read full article » | Save to favorites »

7th Circ. Revives Suit By Law Professor Disciplined Over Exam
By Lauren Berg

The Seventh Circuit on Wednesday revived a retaliation claim from a
University of a law school professor at the University of Illinois in Chicago who
was disciplined for including a redacted racist slur on an exam, saying the
professor has plausibly alleged that his academic speech is protected by the
First Amendment.

Opinion attached | Read full article » | Save to favorites »

Women Attys, AGs Urge Justices To Protect Provider Choice

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Earthjustice

Gleason Corp.

Monsanto Co.

Ohio State University

Planned Parenthood Federation
QuinStreet Inc.

ROC Nation LLC

Tanana Chiefs Conference
Terumo Corp.

Texas Public Policy Foundation
United Policyholders

Vineyard Wind LLC

Wawanesa General Insurance Co.

GOVERNMENT
AGENCIES IN TODAY'S
NEWS

Bureau of Ocean Energy
Management

California Attorney General's Office
California Department of Insurance

Equal Employment Opportunity
Commission

Executive Office of the President

Federal Communications
Commission

Georgia Court of Appeals

Hopi Tribe

National Labor Relations Board
National Marine Fisheries Service
Navajo Nation

New Jersey Supreme Court

Ohio Supreme Court

South Carolina Department of
Health and Human Services

U.S. Army
U.S. Army Corps of Engineers

U.S. Attorney's Office for the
Southern District of Ohio

U.S. Court of Appeals for the Ninth
Circuit

U.S. Court of Appeals for the
Seventh Circuit

U.S. Court of Appeals for the Sixth
Circuit

U.S. Department of Housing and
Urban Development

U.S. Department of Justice

U.S. Department of State

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By Hannah Albarazi

Women attorney groups and a group of state attorneys general urged the
U.S. Supreme Court to reject South Carolina's attempt to stop Medicaid
patients from seeing Planned Parenthood healthcare providers, saying in an
amicus brief Wednesday that patients have a right to choose their healthcare

Ex-Atty Gets 3 Years In Prison For Using Fake IDs To Get Jobs
By David Minsky

A former attorney has been sentenced to more than three years in prison after
pleading guilty to charges related to using false identification in order to obtain
jobs at multiple law firms in Florida, California and elsewhere following his
disbarment in Ohio, according to federal prosecutors.

=Memorandum attached | Read full article » | Save to favorites »

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U.S. District Court for the District of
Alaska

U.S. District Court for the District of
Columbia

U.S. District Court for the Northern
District of Florida

U.S. District Court for the Northern
District of Georgia

U.S. District Court for the Northern
District of Illinois

U.S. District Court for the Northern
District of Texas

U.S. Environmental Protection
Agency

U.S. House of Representatives
U.S. Senate Committee on Indian
Affairs

U.S. Supreme Court

United States District Court for the
District of Colorado

United States District Court for the
Southern District of Ohio

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